






TEXAS COURT OF APPEALS, THIRD DISTRICT, AT AUSTIN






NO. 03-07-00300-CR






Edmund Kahookele, Appellant



v.



The State of Texas, Appellee






FROM THE DISTRICT COURT OF TRAVIS COUNTY, 147TH JUDICIAL DISTRICT


NO. 945141, HONORABLE WILFORD FLOWERS, JUDGE PRESIDING






M E M O R A N D U M   O P I N I O N



On May 1, 2007, Edmund Kahookele filed a pro se notice of appeal in this cause, a
1995 conviction for engaging in organized criminal activity.  The notice of appeal is not timely.  See
Tex. R. App. P. 26.2.  Further, the conviction was affirmed by this Court in Kahookele v. State,
No.&nbsp;03-04-00493-CR, 2006 Tex. App. LEXIS 4968 (Tex. App.--Austin June 9, 2006, pet. ref'd)
(not designated for publication).  The appeal is dismissed.


				__________________________________________

				Bob Pemberton, Justice

Before Justices Patterson, Pemberton and Waldrop

Dismissed for Want of Jurisdiction

Filed:   August 3, 2007

Do Not Publish


